Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 1 of 42




                  Exhibit 8
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 2 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 1 of 41




                                   No. 20-12003

                   UNITED STATES COURT OF APPEALS
                        FOR THE ELEVENTH CIRCUIT

                             Kelvin Leon Jones, et al.,
                               Plaintiffs-Appellees,

                                         v.

 Ron DeSantis, in his official capacity as Governor of the State of Florida, et al.,
                              Defendants-Appellants.


            On Appeal from the United States District Court for the
           Northern District of Florida, Case No. 4:19-cv-300-RH/MJF



       AMICUS BRIEF OF 93 PROFESSORS OF LAW IN SUPPORT
                  OF PLAINTIFFS-APPELLEES



JENNIFER ALTMAN, #881384                      CHRISTOPHER E. STRETCH, #166752
SHANI RIVAUX, #42095                          STACIE O. KINSER, #300529
MARKENZY LAPOINTE #172601                     DEREK M. MAYOR, #307171
PILLSBURY WINTHROP SHAW                       PILLSBURY WINTHROP SHAW
PITTMAN LLP                                   PITTMAN LLP
600 Brickell Avenue, Suite 3100               Four Embarcadero Center, 22nd Floor
Miami, FL 33131                               San Francisco, CA 94111-5998
Telephone: 786.913.4880                       Telephone: 415.983.1000
Facsimile: 786.913.4901                       Facsimile: 415.983.1200


Counsel for Amicus Curiae
      Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 3 of 42
               Case: 20-12003 Date Filed: 08/11/2020 Page: 2 of 41



                                          TABLE OF CONTENTS

TABLE OF CITATIONS ........................................................................................ iv
INTEREST OF AMICUS CURIAE, STATEMENT OF INDEPENDENCE,
AND AUTHORITY TO FILE ...................................................................................1
SUMMARY OF ARGUMENT .................................................................................7
I. The District Court Has Broad Discretion to Fashion an Equitable
Remedy. .....................................................................................................................9
      A. The District Court Has the Authority to Issue a Fair, Necessary and
         Workable Remedy.........................................................................................9
      B. The District Court did not Abuse its Discretion. ........................................11
II. The District Court Exercised its Discretion to Fashion a Remedy that is
Necessary, Fair, Workable, and Tailored to the Scope of the Constitutional
Violation...................................................................................................................12
      A. The State’s Demonstrated Failure to Administer the Pay-To-Vote
         System in a Constitutionally Permissible Manner Necessitated Judge
         Hinkle’s Order. ............................................................................................14
      B. The Relief Ordered by the District Court is Fair and Workable.................16
      C. The Relief is Precisely Tailored to the Constitutional Violation. ...............18
III. Even if the District Court Exceeded its Authority, Amendment 4, is a
Self-Executing Constitutional Amendment, and Must be Upheld to
Effectuate the will of Florida’s Voters. ...................................................................20
      A. The Unconstitutional Application of the LFO Requirements are
         Severable from Amendment 4. ...................................................................21
            1.     The Unconstitutional Application of the LFO Requirements meets
                   Florida’s Severability Test. .................................................................22
            2.     The State did not Meet its Burden to Show that Amendment 4 would
                   not have been Adopted Absent the Application of the LFO
                   Requirements.......................................................................................24
      B. Amendment 4 Automatically Restored Voting Rights and may be
         Implemented without the “Advisory Opinion” Process. ............................27
      C. Alternately, this Court may Fashion a Narrower Injunction that
         Upholds the Will of the Voters in a Constitutionally Permissible
         Manner. .......................................................................................................31


                                                             ii
      Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 4 of 42
               Case: 20-12003 Date Filed: 08/11/2020 Page: 3 of 41



IV. CONCLUSION .................................................................................................33
CERTIFICATE OF COMPLIANCE .......................................................................34




                                                       iii
      Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 5 of 42
               Case: 20-12003 Date Filed: 08/11/2020 Page: 4 of 41



                                       TABLE OF CITATIONS

                                                                                                              Page
                                                      Cases

Barr v. American Assn. of Political Consultants, Inc.,
  140 S.Ct. 2335 (2020) .........................................................................................22
Barrett v. Walker County School District,
  872 F.3d 1209 (11th Cir. 2017) ..........................................................................11

Bell v. Hood,
   327 U.S. 678 (1946) ............................................................................................10

Brakebill v. Jaeger,
   932 F.3d 671 (2019)............................................................................................32
Brown v. Board of Education,
   349 U.S. 294 (1955) ............................................................................................10

City Council of City of N. Miami Beach v. Trebor Constr. Corp.,
   254 So. 2d 51 (Fla. Dist. Ct. App. 1971) ............................................................26

Connor v. Finch,
  431 U.S. 407 (1977) ............................................................................................11

Davis v. Passman,
  442 U.S. 228 (1979) ..............................................................................................9
Democratic Executive Committee of Florida v. Detzner,
  347 F.Supp.3d 1017 (N.D. Fla. 2018) ......................................................... 17, 18

Disabled in Action v. Board of Elections in City of New York,
   752 F.3d 189 (2nd Cir. 2014) .............................................................................15

Doe v. Walker,
  746 F.Supp.2d 667 (D. Md. 2010) ......................................................................19

Fish v. Kobach,
   840 F.3d 710 (10th Cir. 2016) ..................................................................... 15, 18
Florida Democratic Party v. Scott,
   215 F. Supp. 3d 1250 (N.D. Fla. 2016) ..............................................................13

                                                         iv
      Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 6 of 42
               Case: 20-12003 Date Filed: 08/11/2020 Page: 5 of 41



Free Enterprise Fund v. Public Company Accounting Oversight Bd.,
   561 U.S. 477 (2010) ............................................................................................22
Gjersten v. Board of Election Com’rs for City of Chicago,
   791 F.2d 472 (7th Cir. 1986) ..............................................................................31

Gray v. Bryant,
  125 So.2d 846 (Fla. 1960) ........................................................................... 28, 30

Haskins v. City of Boaz,
  822 F.2d 1014 (11th Cir. 1987) ............................................................................9

Jones v. DeSantis,
   4:19-cv-00300-RH-MJF (N.D. Fla. Oct. 18, 2019) ............................................14

Jones v. DeSantis,
   No. 4:19cv300-RH/MJF, 2020 WL 2618062 (N.D. Fla. May 24, 2020) ... passim
Jones v. DeSantis,
   No. 20-12003, 3-4 (11th Cir. June 5, 2020) .......................................................17
Jones v. DeSantis,
   4:19-cv-00300-RH-MJF (N.D. Fla. June 14, 2020) .................................... 14, 20

Jones v. DeSantis,
   410 F.Supp. 3d 1284, aff’d sub nom. Jones v. Governor of Florida, 950 F.3d
   795 (11th Cir. 2020)............................................................................................29

Jones v. Governor of Florida,
   950 F.3d 795 (11th Cir. 2020) .................................................................... passim

Jones v. Smith,
   474 F. Supp. 1160 (S.D. Fla. 1979) ....................................................................26

Lemon v. Kurtzman,
  411 U.S. 192 (1973) ..................................................................................... 10, 11

Madera v. Detzner,
  325 F.Supp.3d 1269 (N.D. Fla. 2018) ................................................................18

North Carolina v. Covington,
  137 S. Ct. 1624 (2017) ........................................................................................10



                                                         v
      Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 7 of 42
               Case: 20-12003 Date Filed: 08/11/2020 Page: 6 of 41



Purcell v. Gonzalez,
  549 U.S. 1 (2006) ................................................................................................13
Ray v. Mortham,
  742 So. 2d 1276 (Fla. 1999) ........................................................................ 22, 23

Republican Party of Ark. v. Faulkner County,
  49 F.3d 1289 (8th Cir. 1995) ..............................................................................31

Sangmeister v. Woodard,
   565 F. 2d 460 (7th Cir. 1977) .............................................................................32

Smith v. Dep’t of Ins.,
  507 So. 2d 1080 (Fla. 1987) ...............................................................................22

South Carolina v. Katzenbach,
   383 U.S. 101 (1966) ............................................................................................28
Swann v. Charlotte-Mecklenburg Bd. of Educ.,
  402 U.S. 1 (1971) ......................................................................................... 10, 11
Veasey v. Abbott,
  888 F.3d 792 (5th Cir. 2018) ..............................................................................11

Williams v. City of Dothan, Ala.,
   818 F.2d 755 opinion modified on denial of reh’g (11th Cir. 1987) ..................11
Women’s Emergency Network v. Bush,
  323 F.3d 937 (11th Cir. 2003) ............................................................................24
                                                   Constitutions

Florida Constitution
   Amendment 4 .............................................................................................. passim

                                            Rules and Regulations
Federal Rules of Appellate Procedure
   Rule 29(a)(2) .........................................................................................................7

                                                Other Authorities
Senate Bill 7066 (May 2019) .........................................................................7, 12, 29


                                                            vi
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 8 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 7 of 41



 INTEREST OF AMICUS CURIAE, STATEMENT OF INDEPENDENCE,
                 AND AUTHORITY TO FILE
      Amicus curiae are professors at law schools across the country who

research, teach, and write on issues of constitutional and criminal law relevant to

this case. Amicus curiae present this brief to provide analysis regarding

concerns raised by the government’s unconstitutional application of the

statutory provision at issue in this case and regarding the authority of the district

court to fashion a permanent injunction to remedy the government’s

constitutional violations. Their interest in this case stems from their professional

academic interest in guiding the development of law in the way that most benefits

society. To the best of their knowledge, no amicus has any financial interest in the

outcome of this case. A complete list of amici’s names, titles, and affiliations is

as follows:

      1.      Professor David Abraham, University of Miami School of Law

      2.      Professor Andrea Armstrong, Loyola University New Orleans,
              College of Law

      3.      Professor Hadar Aviram, University of California Hastings College of
              the Law

      4.      Professor David Ball, Santa Clara University School of Law

      5.      Professor Valena Beety, Arizona State University Sandra Day
              O’Connor College of Law

      6.      Professor Mark Brown, Capital University Law School
      7.      Professor John Burkoff, University of Pittsburgh School of Law


                                          1
Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 9 of 42
         Case: 20-12003 Date Filed: 08/11/2020 Page: 8 of 41



 8.    Professor Bennett Capers, Fordham Law School

 9.    Professor Gilbert Paul Carrasco, Willamette University College of
       Law

 10.   Professor Kami Chavis, Wake Forest University School of Law

 11.   Professor Alan Chen, University of Denver Sturm College of Law
 12.   Professor Gabriel J. Chin, University of California, Davis School of
       Law

 13.   Professor Wilfred U. Codrington III, Brooklyn Law School

 14.   Professor David Cohen, Drexel University, Thomas R. Kline School
       of Law

 15.   Professor Donna Kay Coker, University of Miami School of Law
 16.   Professor Frank Rudy Cooper, University of Nevada, Las Vegas,
       School of Law

 17.   Professor John Copacino, Georgetown University Law Center

 18.   Professor Charlton Copeland, University of Miami School of Law
 19.   Professor Caroline Mala Corbin, University of Miami School of Law
 20.   Professor Michael Louis Corrado, University of North Carolina Law
       School

 21.   Professor Benjamin Plener Cover, University of Idaho College of
       Law

 22.   Professor andré douglas pond cummings, University of Arkansas at
       Little Rock, William H. Bowen School of Law

 23.   Professor Perry Dane, Rutgers Law School

 24.   Professor Joshua Paul Davis, University of San Francisco School of
       Law

 25.   Professor Peggy Cooper Davis, New York University School of Law



                                   2
     Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 10 of 42
              Case: 20-12003 Date Filed: 08/11/2020 Page: 9 of 41



        26.   Professor Frank Deale, City University of New York School of Law

        27.   Professor Nora V. Demleitner, Washington and Lee University School
              of Law

        28.   Professor Peter Edelman, Georgetown University Law Center

        29.   Professor Jules M. Epstein, Temple University Beasley School of Law
        30.   Professor Malcolm M. Feeley, University of California Berkeley
              School of Law

        31.   Professor Mark Fenster1

        32.   Professor James Fox, Stetson University College of Law

        33.   Professor Nicole Godfrey, University of Denver College of Law

        34.   Professor Cynthia Godsoe, Brooklyn Law School
        35.   Professor Phyllis Goldfarb, George Washington University Law
              School

        36.   Professor Stephen Gottlieb, Albany Law School

        37.   Professor Mark Graber, University of Maryland Carey Law School
        38.   Professor Catherine M. Grosso, Michigan State University College of
              Law

        39.   Professor Patrick Gudridge, University of Miami School of Law

        40.   Professor Karen McDonald Henning, University of Detroit Mercy
              School of Law

        41.   Professor Susan Herman, Brooklyn Law School

        42.   Professor Frances R. Hill, University of Miami School of Law
        43.   Professor Janet C. Hoeffel, Tulane Law School


1
    Professor Mark Fenster is signing in his personal capacity and any law school or
    university affiliation is for identification purposes only.

                                           3
Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 11 of 42
         Case: 20-12003 Date Filed: 08/11/2020 Page: 10 of 41



  44.   Professor William Hollingsworth, University of Tulsa School of Law

  45.   Professor Tonja Jacobi, Northwestern Pritzker School of Law
  46.   Professor Osamudia James, University of Miami School of Law

  47.   Professor Eric Janus, Mitchell Hamline School of Law

  48.   Professor Danielle C. Jefferis, California Western School of Law
  49.   Professor Sheri Lynn Johnson, Cornell University Law School

  50.   Professor Lewis Katz, Case Western Reserve University School of
        Law

  51.   Professor Shara Kobetz-Pelz, University of Miami School of Law

  52.   Professor Harold Krent, Chicago-Kent College of Law, Illinois
        Institute of Technology
  53.   Professor Tamara Lave, University of Miami School of Law
  54.   Professor Charles R. Lawrence III, University of Hawaii - Manoa,
        William S. Richardson School of Law

  55.   Professor Arthur S. Leonard, New York Law School
  56.   Professor Martin Levine, University of Southern California, Gould
        School of law

  57.   Professor Raleigh Levine, Mitchell Hamline School of Law

  58.   Professor Peter Linzer, University of Houston Law Center
  59.   Professor Jonathan Lipson, Temple University-Beasley School of Law

  60.   Professor Cortney E. Lollar, University of Kentucky J. David
        Rosenberg College of Law
  61.   Professor Deborah Merritt, Ohio State University Moritz College of
        Law

  62.   Professor Bernadette Meyler, Stanford University Law School



                                   4
     Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 12 of 42
              Case: 20-12003 Date Filed: 08/11/2020 Page: 11 of 41



        63.   Professor Michael Millemann, University of Maryland-Carey School
              of Law
        64.   Professor Martha Minow, Harvard Law School

        65.   Professor Kenneth B. Nunn2

        66.   Professor Jessica Owley, University of Miami School of Law
        67.   Professor Brian Owsley, University of North Texas Dallas School of
              Law

        68.   Professor Ellen S. Podgor, Stetson University College of Law

        69.   Professor Intisar Rabb, Harvard Law School

        70.   Professor Carlos E. Ramos-González, Interamerican University of
              Puerto Rico - Law School
        71.   Professor Teresa Jean Reid3
        72.   Professor L. Song Richardson, University of California, Irvine, School
              of Law

        73.   Professor Ira P. Robbins, American University, Washington College
              of Law
        74.   Professor Jon Romberg, Seton Hall University School of Law, Center
              for Social Justice

        75.   Professor Mark R. Schlakman, Florida State University College of
              Law

        76.   Professor Judith A.M. Scully, Stetson University College of Law

        77.   Professor Michael Seng, University of Illinois, Chicago, John
              Marshall Law School


2
    Professor Kenneth B. Nunn is signing in his personal capacity and any law
    school or university affiliation is for identification purposes only.
3
    Professor Teresa Jean Reid is signing in her personal capacity and any law
    school or university affiliation is for identification purposes only.

                                            5
     Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 13 of 42
              Case: 20-12003 Date Filed: 08/11/2020 Page: 12 of 41



        78.   Professor Allen Shoenberger, Loyola Chicago School of Law

        79.   Professor Jonathan Simon, University of California Berkeley School
              of Law

        80.   Professor Scott Skinner-Thompson, University of Colorado Law
              School
        81.   Professor Abbe Smith, Georgetown University Law Center

        82.   Professor Neil Sobol, Texas A&M School of Law

        83.   Professor David A. Sonenshein, Temple University Beasley School of
              Law

        84.   Professor Irwin Stotzky, University of Miami School of Law

        85.   Professor J. Kelly Strader, Southwestern Law School
        86.   Professor John Teeter, St. Mary's University School of Law
        87.   Professor Joseph Tomain, University of Cincinnati College of Law

        88.   Professor Craig Trocino, University of Miami School of Law

        89.   Professor Kimberly Wehle, University of Baltimore School of Law
        90.   Professor Steven L. Winter, Wayne State University Law School
        91.   Professor Sarah H. Wolking4

        92.   Professor Steve Zeidman, City University of New York School of
              Law
        93.   Professor Adnan A. Zulfiqar, Rutgers Law School

        No party’s counsel authored this brief, in whole or in part. No party’s

counsel contributed money intended to fund the preparation or submission of the



4
    Professor Sarah H. Wolking is signing in her personal capacity and any law
    school or university affiliation is for identification purposes only.

                                           6
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 14 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 13 of 41



brief. Further, no person—other than Amicus curiae, their members, or their

counsel—contributed money intended to fund preparing or submitting the brief.

         Pursuant to Rule 29(a)(2) of the Federal Rules of Appellate Procedure, all

parties have consented to the filing of this brief.

                            SUMMARY OF ARGUMENT

         On November 6, 2018, the people of Florida voted by an emphatic 64.55%

to enact Amendment 4 of the state constitution, automatically restoring the voting

rights of certain felons upon completion of all terms of sentence including parole

or probation. The State has done almost nothing to implement Amendment 4, and

instead, through the passage of SB 7066 in May 2019, made it more difficult – if

not impossible – for those reenfranchised by Amendment 4 to exercise their right

to vote. Particularly hard hit are those who are unable to determine or pay legal

financial obligations (“LFOs”) imposed as part of the felony sentence. Of the over

85,000 voter registrations submitted by impacted individuals since Amendment 4

became effective, the State has not completed its review for a single proposed

registrant. The import of this failure is that there are tens of thousands of Florida

citizens who are being denied their right to vote due to the State’s unreasonable

delay.

         This appeal represents yet another tactic by the State to evade the

constitutional imperative of Amendment 4; the State’s position rests entirely on a



                                            7
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 15 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 14 of 41



false premise: that the restoration of voting rights is provided to convicted felons

by the State of Florida as a matter of grace. In actuality, the re-enfranchisement is

the result of a mandatory constitutional amendment enacted by the will of the

Florida electorate, who resoundingly determined that voting rights of certain felons

“shall be restored.”

      Unfortunately, the State’s lack of proper administration of Amendment 4

required the beneficiaries of Amendment 4 to resort to the courts. After first

entering a preliminary injunction (affirmed by this Court) that Amendment 4 could

not be applied to prohibit voting on the basis of failure to pay LFOs for those

genuinely unable to pay, and then conducting a full trial on the merits, the District

Court entered a permanent injunction ordering the State to do what the people of

Florida mandated nearly two years ago: develop a constitutionally sound system

that enables felons who have completed their sentences to rejoin the electorate.

      The State now objects claiming the permanent injunction ordered to achieve

this imperative exceeds the District Court’s authority. The State suggests that

rather than follow the advisory opinion process set forth in the permanent

injunction, the appropriate remedy—since the State has not implemented

Amendment 4 in a constitutionally permissible manner—is for this Court to strike

Amendment 4 in its entirety. Given the facts developed at trial, the District Court

was well within its discretion to fashion the remedy that it did, however. Even if


                                          8
     Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 16 of 42
              Case: 20-12003 Date Filed: 08/11/2020 Page: 15 of 41



this Court were to find the advisory opinion process goes too far, the appropriate

solution is not to strike down Amendment 4. Rather, at worst, any unconstitutional

application of Amendment 4 can and should be severed leaving the remainder of

the statute in place, giving effect to the will of Florida voters, and allowing the

restoration of voting rights for certain felons upon completion of all terms of

sentence including parole or probation.

I.     The District Court Has Broad Discretion to Fashion an Equitable
       Remedy.
       A.    The District Court Has the Authority to Issue a Fair, Necessary
             and Workable Remedy.
       As detailed below, the District Court was well within its authority to issue

the remedy to allow Amendment 4 to be implemented. The Supreme Court has

unflaggingly exercised its equitable power to remedy unconstitutional government

action, holding that courts have the authority to devise remedies adequate to

redress violations of constitutional rights. See Davis v. Passman, 442 U.S. 228, 242

(1979) (“[W]e presume that justiciable constitutional rights are to be enforced

through the courts. And, unless such rights are to become merely precatory, the

class of those litigants who allege that their own constitutional rights have been

violated, and who at the same time have no effective means other than the judiciary

to enforce these rights, must be able to invoke the existing jurisdiction of the courts

for the protection of their justiciable constitutional rights.”); Haskins v. City of



                                            9
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 17 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 16 of 41



Boaz, 822 F.2d 1014 (11th Cir. 1987) (citing Bell v. Hood, 327 U.S. 678, 684

(1946) (“[W]hen federal rights are violated, ‘it has been the rule from the

beginning that courts will be alert to adjust their remedies so as to grant the

necessary relief.’”)).

      District courts have broad, flexible discretion when shaping equitable

remedies for constitutional violations. Swann v. Charlotte-Mecklenburg Bd. of

Educ., 402 U.S. 1, 15 (1971) (“Once a right and a violation have been shown, the

scope of a district court’s equitable powers to remedy past wrongs is broad, for

breadth and flexibility are inherent in equitable remedies.”). “[E]quitable remedies

are a special blend of what is necessary, what is fair, and what is workable.”

Lemon v. Kurtzman, 411 U.S. 192, 200 (1973) (plurality opinion); North Carolina

v. Covington, 137 S. Ct. 1624, 1624-25 (2017) (per curiam) (reaffirming that courts

must balance “what is necessary, what is fair, and what is workable” in assessing

equitable remedies).

      In application, “courts eschew rigid absolutes and look to the practical

realities and necessities inescapably involved in reconciling competing interests,

notwithstanding that those interests have constitutional roots.” Lemon, 411 U.S. at

201; see also Brown v. Board of Education, 349 U.S. 294, 300 (1955). (“equity has

been characterized by a practical flexibility in shaping its remedies and by a

facility for adjusting and reconciling public and private needs”).


                                          10
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 18 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 17 of 41



      This requires courts to adequately balance the interests of those affected by

the constitutional violation with the democratic and administrative interests of the

state and local governments. See Veasey v. Abbott, 888 F.3d 792, 800 (5th Cir.

2018) (“[r]elief must be tailored to avoid undue interference with a legislature’s

judgment”) (internal citation omitted). One “essential” element of this inquiry “is

whether the District Court properly exercised its equitable discretion in reconciling

the requirements of the Constitution with the goals of state political policy.”

Connor v. Finch, 431 U.S. 407, 414 (1977).

      B.     The District Court did not Abuse its Discretion.

      Because the trial courts necessarily require flexibility in tailoring remedies

to match the constitutional violation, they have “broad discretionary power in

shaping equity decrees; subsequent appellate review is correspondingly narrow.”

Lemon, 411 U.S. at 200 (1973) (citing Swann, 402 U.S. at 15, 27 n. 10 (1971));

Williams v. City of Dothan, Ala., 818 F.2d 755, 760 opinion modified on denial of

reh’g (11th Cir. 1987) (“A district court has the inherent equitable power to fashion

a remedy appropriate to the wrong committed.”).

      Accordingly, the appellants’ burden is to show the District Court abused its

discretion in crafting its remedy. See Barrett v. Walker County School District,

872 F.3d 1209, 1221 (11th Cir. 2017). Appellants have not and cannot meet their

burden.



                                          11
      Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 19 of 42
               Case: 20-12003 Date Filed: 08/11/2020 Page: 18 of 41



II.     The District Court Exercised its Discretion to Fashion a Remedy that is
        Necessary, Fair, Workable, and Tailored to the Scope of the
        Constitutional Violation.

        After an eight-day trial, thousands of pages of evidence, witnesses and

experts, the District Court recognized the extent of the disenfranchisement worked

by the adoption of SB 7066:

        [t]he State of Florida has adopted a system under which nearly a
        million otherwise-eligible citizens will be allowed to vote only if they
        pay an amount of money. Most of the citizens lack the financial
        resources to make the required payment. Many do not know, and
        some will not be able to find out, how much they must pay. For most,
        the required payment will consist only of charges the State imposed to
        fund government operations—taxes in substance though not in name.
        The State is on pace to complete its initial screening of the citizens by
        2026, or perhaps later, and only then will have an initial opinion about
        which citizens must pay, and how much they must pay, to be allowed
        to vote. In the meantime, year after year, federal and state elections
        will pass. The uncertainty will cause some citizens who are eligible to
        vote, even on the State’s own view of the law, not to vote, lest they
        risk criminal prosecution.

Jones v. DeSantis, No. 4:19cv300-RH/MJF, 2020 WL 2618062 (N.D. Fla. May 24,

2020) (“Jones II”).

        After finding that eligible voters would likely not vote because of SB 7066

(“[i]t is likely that if the State’s pay-to-vote system remains in place, some citizens

who are eligible to vote, based on the Constitution or even the state’s own view of

the law, will choose not to risk prosecution and thus will not vote”), the District

Court issued an injunction that: prohibited Appellants from taking any action to

enforce the LFO requirement to the extent that it (i) applies to individuals who are

                                           12
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 20 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 19 of 41



otherwise eligible to vote but are genuinely unable to pay the required amount; (ii)

requires payment, as a condition of voting, of amounts that are unknown and

cannot be determined with diligence; and (iii) requires payment of fees and costs as

a condition of voting, because they are, in substance, taxes. Further, the District

Court required the Division of Elections to provide a functional process by which

returning citizens unsure of their eligibility to vote could request an advisory

opinion from the State verifying the amount of LFO payments required; and

allowed citizens with outstanding LFOs to register to vote upon affirming their

inability to pay.

      This relief was necessary because the State refused to fix the problems itself

for over two years, and the denial of the right to vote in even a single election is

irreparable. Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam); See Jones v.

Governor of Florida, 950 F.3d 795, 828 (11th Cir. 2020) (“Jones I”) (“The denial

of the opportunity to cast a vote that a person may otherwise be entitled to cast—

even once—is an irreparable harm”); Florida Democratic Party v. Scott, 215 F.

Supp. 3d 1250, 1256 (N.D. Fla. 2016) (“The right to vote is a ‘precious’ and

‘fundamental’ right.”) (internal quotation omitted).




                                          13
   Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 21 of 42
            Case: 20-12003 Date Filed: 08/11/2020 Page: 20 of 41



      A.     The State’s Demonstrated Failure to Administer the Pay-To-Vote
             System in a Constitutionally Permissible Manner Necessitated
             Judge Hinkle’s Order.

      This Court in Jones I, and the District Court in its Order Denying Motion to

Dismiss and Granting Preliminary Injunction, Jones v. DeSantis, 4:19-cv-00300-

RH-MJF (N.D. Fla. Oct. 18, 2019), gave the State 18 months to rectify its

administrative violations in implementing Amendment 4. After the State failed to

do so, the District Court properly preserved the plaintiffs’ fundamental right to

vote by issuing its permanent injunction in Jones II. The District Court opined:

      In the 18 months since Amendment 4 was adopted, the Division has
      had some false starts but has completed its review of not a single
      registration…. The takeaway: 18 months after Amendment 4 was
      adopted, the Division is not reasonably administering the pay-to-vote
      system and has not been given the resources needed to do so.

Jones II, 2020 WL 2618062 at *24-25.

      The state had an opportunity to offer procedures and remedies to address the

de facto poll tax but simply refused. See, e.g., Order Denying Motion for Stay

Pending Appeal, Jones v. DeSantis, 4:19-cv-00300-RH-MJF, 13 (N.D. Fla. June

14, 2020) (“[t]he State had more than six months after entry of the preliminary

injunction, and more than three months after the Eleventh Circuit’s definitive

ruling in Jones I, to come up with its own process for determining inability to pay.

The State chose to do nothing”).




                                         14
   Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 22 of 42
            Case: 20-12003 Date Filed: 08/11/2020 Page: 21 of 41



      The District Court was left to exercise its inherent authority to devise a

remedy to protect hundreds of thousands of voters – now two years after they

gained that right under Amendment 4. Disabled in Action v. Board of Elections in

City of New York, 752 F.3d 189, 205 (2nd Cir. 2014) (“[t]he district court,

however, gave BOE multiple opportunities to submit a written plan, to offer

suggestions, to test its proposed accommodations, and to modify DOJ's proposal

based on its concerns. The district court issued a plan only after BOE failed to

provide written suggestions or demonstrate the efficacy of its accommodations”).

      The District Court’s remedy is particularly appropriate given that the State

says it “is on pace to complete its initial screening” of the 85,000 felons who had

registered as of the time of trial by 2026, a date that may be pushed back into the

2030s with the expected increase of voter registrations before the November 2020

election. Jones II, 2020 WL 2618062 at *1.

      Former felons who are eligible to vote but are unable to because of the

State’s administrative failures suffer irreparable harm with each passing election.

Two years after the passage of Amendment 4, this class of citizens has suffered

numerous irreparable harms because of the State’s delay. The only way to mitigate

this unfairness is to uphold the District Court’s remedy. See Jones I at 828 (“The

denial of the opportunity to cast a vote that a person may otherwise be entitled to

cast— even once—is an irreparable harm”); Fish v. Kobach, 840 F.3d 710, 755


                                         15
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 23 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 22 of 41



(10th Cir. 2016) (“There is no contest between the mass denial of a fundamental

constitutional right and the modest administrative burdens to be borne by [the

Secretary of State’s] office and other state and local offices involved in

elections.”).

      B.        The Relief Ordered by the District Court is Fair and Workable.

      The remedy ordered by the District Court allows for the prospective voter to

seek an advisory opinion from the Division of Elections (“DOE”) defining the

amount owed, a procedure that the State itself has offered as its preferred means of

satisfying due process. See Jones II, 2020 WL 2618062 at *37 (citing Trial Tr.,

ECF No. 408 at 91-94, 100-03, 197-98).

      While no deadline is set for the opinion to be issued by the DOE, each

individual is permitted to register 21 days after seeking an advisory opinion. This

remedy appropriately balances deference to the State’s preferred process with the

due process concern of implementing the procedure “in a timely manner with

adequate, intelligible notice.” Jones II, 2020 WL 2618062 at *37.

      The District Court found that the time saved by the remedy will be

substantial because most felony sentences do not include a fine or restitution. Id. at

44. So, in most cases, the DOE will need to do nothing more on LFOs than review

the judgment to confirm there is no fine or restitution. Id. In the remaining cases—

those with a fine or restitution—the majority of those affected will be unable to



                                          16
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 24 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 23 of 41



pay. Id. This process allows the DOE to quickly determine whether an adequate

showing of inability to pay was made; certainly, the DOE will have an opportunity

to challenge that showing, but it seems likely that it will rarely have a basis to do

so. Id. This tailored remedy will substantially reduce the workload, allowing the

DOE to focus its review on disqualifying factors such as convictions for murder or

felony sexual offense.

      The Court’s Order streamlines the process for determining voter eligibility

and reduces the burden on the state by substantially shrinking the pool of voters for

whom an LFO determination is required. The State’s proposed system, in contrast,

requires a manual review of each registration application, which it acknowledges

would take the Secretary until 2026, at the earliest. Id. at 16 fn. 11; see also

Plaintiffs’ Response to Motion to Expedite Appeal, Jones v. DeSantis, No. 20-

12003, 3-4 (11th Cir. June 5, 2020).

      The approach taken by the District Court has been taken by other district

courts in Florida. In Democratic Executive Committee of Florida v. Detzner, 347

F.Supp.3d 1017 (N.D. Fla. 2018), the court directed county supervisors of elections

to allow absentee voters with mismatched signatures who should have had an

opportunity to cure their uncounted ballots to cure those ballots to be counted for

in the next iteration of official election results. In balancing the voters’ and

government’s hardships, the court opined that “any potential hardship imposed by


                                           17
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 25 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 24 of 41



providing an actual opportunity to challenge the determination that a signature

does not match, and thus, a vote does not count, is out-weighed by the risk of

unconstitutionally depriving eligible voters of their right to vote.” Id. at 1032.

      Similarly, in Madera v. Detzner, 325 F.Supp.3d 1269 (N.D. Fla. 2018),

despite an upcoming election only two months away, the court ordered the state to

provide facsimile sample ballots in Spanish regardless of the accompanying

“logistical, financial, and technological hurdles” because those concerns were far

out-weighed by the interest in “guaranteeing Puerto Ricans a right to a meaningful

vote.” Id. at 1283; Fish, 840 F.3d at 755 (10th Cir. 2016) (“There is no contest

between the mass denial of a fundamental constitutional right and the modest

administrative burdens to be borne by [the Secretary of State’s] office and other

state and local offices involved in elections.”).

      C.     The Relief is Precisely Tailored to the Constitutional Violation.
      Although Amendment 4 granted hundreds of thousands of former felons the

right to vote, the State unconstitutionally denied that class of eligible voters the

ability to register, even after a preliminary injunction upheld by this Court ordered

the State to implement appropriate procedures. While the State claims it did not

adopt new administrative procedures following the preliminary injunction because

it only applied to the seventeen plaintiffs, the scope of this Court’s remedial

injunction is broader. See Jones I, 950 F.3d at 813 (“[t]he district court’s



                                          18
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 26 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 25 of 41



preliminary injunction leaves the State ample discretion in designing the procedure

to be used to provide an opportunity for these plaintiffs (and others) to demonstrate

their indigency and inability to pay for reasons beyond their control”).

      After the State failed to satisfy its constitutional responsibilities under

Amendment 4, the District Court was compelled to intervene to preserve this class

of eligible voters’ right to register and vote. See, e.g., Doe v. Walker, 746

F.Supp.2d 667, 683 (D. Md. 2010) (extending the deadline for receipt of absentee

ballots from uniformed services and overseas voters because even though the court

was “reluctant to interfere with Maryland’s election machinery,” “the risk of

disenfranchisement of a group of voters” was so “great” that “narrowly tailored

injunctive relief” was warranted). It did so by issuing an order that tailored the

remedies to the scope of the violations, gave credence to the State’s preferred

mechanisms, and minimized the requisite administrative burdens on the state. The

order established a process with ascertainable standards that allows former felons

to register while at the same time preserving the State’s ability to review eligibility.

The standards provide a definition of the unconstitutional burdens, and the specific

conditions facilitate the State’s avoidance of unconstitutional pay-to-vote

requirements. As importantly, it honored the will of Florida voters who supported

Amendment 4.




                                          19
       Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 27 of 42
                Case: 20-12003 Date Filed: 08/11/2020 Page: 26 of 41



         This carefully crafted relief also reduced the State’s administrative burdens.

The State retains the ultimate authority to remove ineligible voters from its voter

pool in a constitutionally acceptable manner of its own discretion. As the

Appellees suggested below: “[t]he only difference is that the Order creates a

mechanism for returning citizens to obtain an eligibility determination from the

Department of State, without forcing them to risk prosecution in order to exercise

their right to vote, and establishes clear and uniform criteria for identifying

potentially ineligible voters for the purpose of list maintenance.” Plaintiffs’

Opposition to Motion for Stay Pending Appeal, Jones v. DeSantis, 4:19-cv-00300-

RH-MJF (N.D. Fla. June 14, 2020) at 3.

         In sum, the remedy allows prospective voters to determine whether they

have LFOs, allows them to vote, reduces the risk of unfounded prosecutions, and

allows for timely administration of the process.

III.     Even if the District Court Exceeded its Authority, Amendment 4, is a
         Self-Executing Constitutional Amendment, and Must be Upheld to
         Effectuate the will of Florida’s Voters.

         As set forth above, the District Court was well within its discretion to

fashion the Permanent Injunction and the State makes no compelling argument to

the contrary. Instead, the State takes the radical position that “if Plaintiffs and the

district court were correct on the merits, the appropriate remedy under Florida’s

severability principles would be to invalidate Amendment 4 in its entirety.” Brief



                                            20
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 28 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 27 of 41



En Banc Opening Brief of Defendants-Appellants for Initial Hearing, No. 20-

12003, 14 (11th Cir. June 19, 2020) (“Appellants’ Initial Hearing En Banc Br.”).

      The State is wrong for three related reasons: (1) the unconstitutional

application of the LFO requirements is severable from Amendment 4 and the State

has not shown voters would not have passed Amendment 4 without the

unconstitutional application; (2) Amendment 4 is self-executing and may be

implemented without the “advisory opinion” process described by the Permanent

Injunction; and (3) if the District Court exceeded its authority in fashioning the

Permanent Injunction, the appropriate remedy is not to invalidate the entirety of

Amendment 4, but to remand with instructions for a narrower injunction that

upholds the will of the voters in a constitutionally permissible manner.

      A.     The Unconstitutional Application of the LFO Requirements are
             Severable from Amendment 4.
      If this Court agrees with Plaintiffs and determines that the State’s application

of the LFO requirements is unconstitutional, the State’s solution is to strike down

Amendment 4 in its entirety. See Appellants’ Initial Hearing En Banc Br., at 49-

50. This deleterious proposition rests on two related assumptions: (1) that the

unconstitutional application of the LFO requirement cannot be severed from

Amendment 4; and (2) Florida’s voters would not have voted for Amendment 4 if

they knew felons who were unable to pay for or determine LFOs would still be

permitted to register and vote. The State is wrong about both.


                                          21
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 29 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 28 of 41



             1.     The Unconstitutional Application of the LFO Requirements
                    meets Florida’s Severability Test.
      Florida law adopts a strong presumption of severability, “recognizing the

obligation of the judiciary to uphold the constitutionality of legislative enactments

where it is possible to strike only the unconstitutional portions,” and places the

burden on the party challenging severability. Ray v. Mortham, 742 So. 2d 1276,

1280-81 (Fla. 1999). This presumption accords with U.S. Supreme Court

precedent on severability, as Justice Kavanaugh recently articulated in Barr v.

American Assn. of Political Consultants, Inc., 140 S.Ct. 2335, 2350 (2020): “The

Court’s cases have . . . developed a strong presumption of severability. The Court

presumes that an unconstitutional provision in a law is severable from the

remainder of the law or statute.” (citing Free Enterprise Fund v. Public Company

Accounting Oversight Bd., 561 U.S. 477, 508 (2010)). In Florida, when a part of a

statute is declared unconstitutional the remainder of the act will stand where: (1)

the unconstitutional provisions can be separated from the remaining valid

provisions; (2) the legislative purpose expressed in the valid provisions can be

accomplished independently of those which are void; (3) the good and the bad

features are not so inseparable in substance that it can be said that the Legislature

would have passed the one without the other and; (4) an act complete in itself

remains after the invalid provisions are stricken. Smith v. Dep’t of Ins., 507 So. 2d




                                          22
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 30 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 29 of 41



1080, 1089 (Fla. 1987). This same test applies to constitutional amendments

adopted by Florida voters. See Ray, 742 So. 2d at 1281.

      The State contends that “[t]he district court’s injunction fails every prong of

this test,” and protests that “the critical requirement that felons repay their debt to

society in full before returning to the electorate has been gutted” by the Permanent

Injunction. Appellants’ Initial Hearing En Banc Br., at 2, 50. The State both

grossly overstates the scope of the Permanent Injunction and oversimplifies the

severability analysis.

      First, the Permanent Injunction does not wholesale enjoin the requirement

that felons “complete all terms of sentence.” It “still requires felons to complete

their carceral sentences and parole or probation before becoming eligible to vote.”

Jones I, 950 F.3d at 832. More importantly, the Permanent Injunction narrowly

prohibits only the unconstitutional application of the LFO requirements to those

genuinely unable to pay or determine the amounts owed. Id., (“to the extent a

felon can [determine and] pay LFOs, he or she must”). Hardly a “gutting” of the

intent of Amendment 4, which was to end the permanent disenfranchisement for

felons other than those convicted of murder and sexual offenses.

      Second, despite its claims that the Permanent Injunction “fails every prong

of [the severability] test,” the State makes no attempt to analyze the four factors.

As to the first and fourth factors, the unconstitutional application of the LFO


                                           23
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 31 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 30 of 41



requirements can easily be separated from the rest of Amendment 4, leaving a

complete act. See Women’s Emergency Network v. Bush, 323 F.3d 937, 949 (11th

Cir. 2003) (noting that the first and fourth elements are presumed to be satisfied “in

almost any case”). As the Jones I Panel pointed out, “the application of the phrase

‘all terms of sentence’ to require payment of legal financial obligations to those

genuinely unable to pay them . . . can obviously be excised, leaving Amendment 4

as a complete act. Indeed, we know that this is true because before the Florida

Supreme Court issued an advisory opinion . . . there was a plausible textual

argument that this application did not fall within the Amendment’s language at

all.” Jones I, 950 F.3d at 832.

      Indeed, the State’s sole argument seems to be focused on the second and

third factors—that is, whether the intent of the electorate in passing Amendment 4

may still be accomplished absent the unconstitutional application of the LFO

requirements. If it can, the unconstitutional portion may properly be severed. As

discussed in section III.A.2., the factual question of the electorate’s intent in this

regard was presented at trial and decided on the merits.

             2.     The State did not Meet its Burden to Show that Amendment
                    4 would not have been Adopted Absent the Application of
                    the LFO Requirements.
      As the Jones I Panel explained, “[i]t is the State’s burden to show that

Amendment 4 would not have been adopted absent the unconstitutional application



                                           24
     Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 32 of 42
              Case: 20-12003 Date Filed: 08/11/2020 Page: 31 of 41



of the LFO requirement to those who cannot pay. Florida law is clear that a party

that does no more than ‘cast doubt on whether the amendment would have passed’

without its unconstitutional application has not carried its burden.” Jones I, 950

F.3d at 832 [internal citations omitted]. The Jones I Panel found that the State

failed to present any “concrete evidence or even a persuasive argument to that

effect” at the preliminary injunction phase. Id. The Jones I Panel also noted that

“the district court may be better situated to decide this question in the first instance

on a full record. While it seems to us obvious on this preliminary record that the

application in question is severable, nothing in this opinion precludes the district

court from reaching a different conclusion after a full trial on the merits.” Id., at n.

15; internal citations omitted.

        At trial, the State only presented expert testimony claiming that focus groups

and polling showed that payment of LFOs, including by those unable to pay, was

critical to the passage of the amendment. The District Court rejected that

testimony, and found that “[t]he State’s assertion that voters understood

‘completion of all terms of sentence’ to mean payment of fines, fees, costs, and

restitution by those unable to pay and that this was critical to passage of the

amendment is fanciful.”5 Jones II, 2020 WL 2618062 at *41.


5
    The State also ignored that SB 7066 implemented a major change in that LFOs
    converted to civil liens would still be considered part of the criminal sentence


                                           25
   Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 33 of 42
            Case: 20-12003 Date Filed: 08/11/2020 Page: 32 of 41



      The State now contends that “[t]he court’s finding that ‘voters would have

approved Amendment 4 by more than the required 60% had they known it would

be applied in the manner required by [its] order,’ . . . is owed no deference because

severability is a question of law rather than fact.” Appellants’ Initial Hearing En

Banc Br., at 51. This contention ignores settled Florida law, as noted by Jones I,

950 F.3d that “the question of severability appears to be a mixed question of law

and fact under Florida law.” (Jones I, 950 F.3d at 832, citing to Jones v. Smith, 474

F. Supp. 1160, 1169 (S.D. Fla. 1979) (“The severability of any particular portion of

a statute is a mixed question of law and fact to be determined by the trial court with

appropriate review of the conclusion in the appellate court.” (citing City Council of

City of N. Miami Beach v. Trebor Constr. Corp., 254 So. 2d 51 (Fla. Dist. Ct. App.

1971))).

      Over five million Floridians voted to enact Amendment 4 to end the

permanent disenfranchisement of felons. The District Court found that the State’s

expert testimony did not demonstrate Amendment 4 would not have been adopted

by these voters absent the unconstitutional application of the LFO requirements

because the State’s proffered focus groups and polling were conducted years


 under Amendment 4. The voters would have had no reason to expect that
 converted civil liens would be legal financial obligations included as a term of
 sentence within the meaning of Amendment 4 because that was contrary to
 practice at the time Amendment 4 was enacted. See Jones II, 2020 WL 2618062
 at n. 9.

                                         26
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 34 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 33 of 41



before Amendment 4 was on the ballot, were not conducted in a scientifically

reliable manner, and did not make any references to inability to pay LFOs. Jones

II, at *41. Relying on the plain language of Amendment 4—which evidenced the

intent of 64.55% of the electorate to re-enfranchise certain felons at the appropriate

time, excluding those convicted of murder or sexual offenses and requiring the

completion of all terms of sentence including probation and parole—the District

Court stated, “I find as a fact that voters would have approved Amendment 4 by

more than the required 60% had they known it would be applied in the manner

required by this order. I would make this same finding regardless of which side has

the burden of proof.” Id., at *41. The District Court’s factual finding on this issue

should not be disturbed on appeal, and the “obvious” severability of the

unconstitutional application (Jones I, 950 F.3d at n. 15) should be upheld rather

than “[s]triking the entirety of Amendment 4, [which] would be a dramatic

departure from what the voters intended.” Id., at *42.

      B.     Amendment 4 Automatically Restored Voting Rights and may be
             Implemented without the “Advisory Opinion” Process.

      The effective date of Amendment 4 was January 8, 2019. It was operative

and being administrated well before the May 2019 enactment of SB 7066 and the

January 2020 Florida Supreme Court Advisory Opinion interpreting “all terms of

sentence” to include the payment of LFOs. See Jones I, 950 F.3d at 803-04.

Indeed, the record shows that felons began registering immediately after


                                         27
     Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 35 of 42
              Case: 20-12003 Date Filed: 08/11/2020 Page: 34 of 41



Amendment 4’s enactment, and the State began processing those registrations

pursuant to its normal application processes. See Jones II, at *4. Throughout the

preliminary injunction and trial phases, registrations have continued

uninterrupted—over 85,000 voter registrations for individuals with felony

convictions were pending at the time of trial. Id., at *24.

        Regardless of whether this Court finds that the District Court exceeded its

authority with respect to the specific provisions of the Permanent Injunction,

Amendment 4 is self-executing—that is, capable of being implemented without the

specific provisions included in the Permanent Injunction’s “advisory opinion”

process. A constitutional provision is self-executing when it provides “a sufficient

rule by means of which the right or purpose which it gives or is intended to

accomplish may be determined, enjoyed, or protected without the aid of legislative

enactment.” Gray v. Bryant, 125 So.2d 846, 851 (Fla. 1960).6 The clear intent of

Amendment 4 was to automatically re-enfranchise certain felons that completed

the terms of sentence, including probation and parole; the will of the voters must

be respected in this regard. See id. (“The will of the people is paramount in


6
    See also South Carolina v. Katzenbach, 383 U.S. 101 (1966) (“Section 1 of the
    Fifteenth Amendment declares that ‘[t]he right of citizens of the United States to
    vote shall not be denied or abridged by the United States or by any State on
    account of race, color, or previous condition of servitude.’ This declaration has
    always been treated as self-executing, and has repeatedly been construed, without
    further legislative specification, to invalidate state voting qualifications or
    procedures which are discriminatory on their face or in practice.”)

                                          28
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 36 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 35 of 41



determining whether a constitutional provision is self-executing and the modern

doctrine favors the presumption that constitutional provisions are intended to be

self-operating. This is so because in the absence of such presumption the

legislature would have the power to nullify the will of the people expressed in their

constitution, the most sacrosanct of all expressions of the people.”).

      The issue addressed by the plaintiffs’ complaints was never whether the

State knew how to implement Amendment 4 in the absence of SB 7066 or the

Florida Supreme Court Advisory Opinion, but whether it was doing so in a

constitutionally permissible manner. At the preliminary injunction phase, both the

District Court and the Jones I Panel initially expressed confidence that the State

could continue to administer Amendment 4 and the LFO requirements using its

normal voter registration processes. Jones v. DeSantis, 410 F.Supp. 3d 1284,

1301, aff’d sub nom. Jones v. Governor of Florida, 950 F.3d 795 (11th Cir. 2020)

(“The State meets its constitutional obligation—that is, its obligation not to deny

restoration of the right to vote based on lack of financial resources—if the State

allows the lack of financial resources to be addressed as part of the same process

through which other felons may obtain restoration of the right to vote. Further, . . .

the State can satisfy its duty by another method of its choosing, so long as the

method is equally accessible to the felon or otherwise comports with constitutional

requirements.”); see also, Jones I, 950 F.3d at 829-30 (“To comply with the legal


                                          29
    Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 37 of 42
             Case: 20-12003 Date Filed: 08/11/2020 Page: 36 of 41



principle behind the injunction, the State need make only a good faith effort to

ensure that no felon otherwise eligible to vote under Amendment 4 is prevented

from doing so because of his or her genuine inability to pay LFOs.”).

      Unfortunately, the State’s conduct between the preliminary injunction and

trial demonstrated a “staggering inability” to implement the LFO requirements.

Jones II, at *24. Accordingly, the District Court found it necessary after a trial on

the merits to fashion its own “advisory opinion” process with respect to the LFO

requirements that the State must follow. The State’s position is that the District

Court’s “chosen remedy—imposing an intricate advisory-opinion process,

specifying the exact content of the form that felons must be provided to request the

opinion . . . exceeds its judicial authority.” Appellants’ Initial Hearing En Banc Br.,

at 47. As set forth above in sections I and II, the District Court was well within its

discretion to fashion the Permanent Injunction as it did. But if this Court

disagrees, it does not change the “sacrosanct” expression of Florida’s voters to

adopt a “self-operating” constitutional amendment that automatically re-

enfranchised certain felons upon certain conditions. Gray, 125 So.2d at 851-52.

Thus, even if this Court does not uphold the advisory opinion process, it should not

undermine the will of the Florida electorate in fashioning the appropriate

administration of Amendment 4.




                                          30
   Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 38 of 42
            Case: 20-12003 Date Filed: 08/11/2020 Page: 37 of 41



        C.    Alternately, this Court may Fashion a Narrower Injunction that
              Upholds the Will of the Voters in a Constitutionally Permissible
              Manner.

        Assuming this Court affirms the unconstitutionality of the LFO requirements

as applied to those genuinely unable to determine or pay the specified amounts

owed, but finds that the District Court exceeded its authority with respect to the

“advisory opinion” portion of the Permanent Injunction, this Court has several

available options.

        First, after affirming the finding of unconstitutionality and upholding the

injunction to the extent of the unconstitutionality, this Court may vacate only the

portion of the Permanent Injunction constituting overreach. See Gjersten v. Board

of Election Com’rs for City of Chicago, 791 F.2d 472, 479-80 (7th Cir. 1986).

Here, that could entail vacating the “advisory opinion” process, but affirming all

other aspects of the Permanent Injunction, such that the State is simply enjoined

from prohibiting those individuals genuinely unable to pay or determine LFOs to

vote.

        Second, this Court may remand, directing the District Court to order the

State to fashion its own constitutionally permissible procedure. See Republican

Party of Ark. v. Faulkner County, 49 F.3d 1289, 1301 (8th Cir. 1995). Given the

State’s demonstrated inability or unwillingness to do so within the constitutional




                                          31
     Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 39 of 42
              Case: 20-12003 Date Filed: 08/11/2020 Page: 38 of 41



imperatives of the injunction7, this Court may also set forth specified guidelines for

the State to follow in fashioning its procedure. See Sangmeister v. Woodard, 565

F. 2d 460, 468 (7th Cir. 1977) (“As a general rule, courts of equity need not

impose specific requirements absent some reasons to believe that a less restrictive

approach will fail to remedy the constitutional violation,” but where there is

“evidence that state officials will continue to violate the constitution,” allowing for

judicial authority to impose specific remedies.).

        Third, this Court may fashion its own, narrower injunction including one

that abandons the “advisory opinion” process for determining the ability to pay

LFOs, but still prohibits the State from taking certain actions or requires the State

to adopt certain procedures. See Brakebill v. Jaeger, 932 F.3d 671, 680-81.

Indeed, the State appears to have invited this outcome. The State does not dispute

that the District Court was at least within its discretion to enjoin the State from

preventing felons from voting when LFOs cannot be determined with diligence,

and the “need for . . . procedures” for those felons who genuinely do not know if



7
    The State has taken the position that the reason it has not devised a
    constitutionally permissible procedure is that the preliminary injunction only
    applied to the 17 named plaintiffs, and it “was under no obligation to voluntarily
    implement an entirely new system while simultaneously challenging the court’s
    order.” Even as to the 17 named plaintiffs, however, in the 18 months since the
    complaint was filed and the four months between Jones I and the trial, none of
    the 17 named plaintiffs’ registrations had been fully processed. See Jones II,
    2020 WL 2618062 at *24.

                                           32
      Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 40 of 42
               Case: 20-12003 Date Filed: 08/11/2020 Page: 39 of 41



they owe anything on their sentence. Appellants’ Initial Hearing En Banc Br., at

46-47. The Jones I Panel also suggested several other “options” for the State to

administer the LFO requirements that “do not appear unduly burdensome in light

of the significance of the plaintiffs’ interests.” Jones I, 950 F.3d at 832. These

included individualized determinations of eligibility by a Supervisor of Elections

or Secretary of State after review of voter rolls for disqualifying felony convictions

or reliance on the same financial attestation procedure used to determine whether

defendants qualify for a public defender or other public benefits. See Jones I, 950

F.3d at 830.

IV.     CONCLUSION

        The Court should uphold the permanent injunction entered by the District

Court, but if it does not, should in any event not disturb the will of the Florida

electorate to end the permanent disenfranchisement of felons.


DATED: August 3, 2020                          /s/ Jennifer G. Altman
                                               Jennifer G. Altman
                                               Pillsbury Winthrop Shaw Pittman LLP
                                               Counsel for Amicus Curiae




                                          33
   Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 41 of 42
            Case: 20-12003 Date Filed: 08/11/2020 Page: 40 of 41



                      CERTIFICATE OF COMPLIANCE

      I certify that this Brief complies with the type-volume limitations of Fed. R.

App. P. 29 because it contains 6,491 words.

      This Brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

Brief has been prepared in a proportionally spaced typeface using Microsoft Word

for Office in 14-point Times New Roman font.


DATED: August 3, 2020                         /s/ Jennifer G. Altman
                                              Jennifer G. Altman
                                              Pillsbury Winthrop Shaw Pittman LLP
                                              Counsel for Amicus Curiae




                                         34
   Case 1:21-cv-00184-MW-HTC Document 31-8 Filed 12/03/21 Page 42 of 42
            Case: 20-12003 Date Filed: 08/11/2020 Page: 41 of 41



                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of

Court for the United States Court of Appeals for the Eleventh Circuit by using the

appellate CM/ECF system on August 3, 2020. I certify that all participants in the

case are registered CM/ECF users and that service will be accomplished by the

appellate CM/ECF system.


DATED: August 3, 2020                         /s/ Jennifer G. Altman
                                              Jennifer G. Altman
                                              Pillsbury Winthrop Shaw Pittman LLP
                                              Counsel for Amicus Curiae




                                         35
